                    IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION
IN RE:

    BRAD W. DANIEL                                                3:18-bk-00245
                                                                  CHAPTER 7



              MOTION FOR RELIEF FROM THE AUTOMATIC
  STAY OF SECTION 362 OR IN THE ALTERNATIVE ADEQUATE PROTECTION
             AND ABANDONMENT OF PROPERTY BY TRUSTEE

        COMES NOW Nationstar Mortgage LLC d/b/a Mr. Cooper Servicer for Deutsche Bank
National Trust Company, as Trustee for GSR Mortgage Loan Trust 2007-AR2 Mortgage Pass-
Through Certificates Series 2007-AR2 (“Nationstar Mortgage LLC d/b/a Mr. Cooper”) and
respectfully shows the Court the following:

   1. On January 15, 2018, the Debtor(s), Brad W. Daniel, filed a petition with the Bankruptcy
Court for the Middle District of Tennessee under Chapter 13 of Title 11 of the United States
Code. On February 7, 2018 the case was converted to a case under Chapter 7 of Title 11 of the
United States Code.

   2. On the date the petition was filed, the Debtor(s) Brad W. Daniel was the owner(s) of real
property with an address of 308 Hamlets End Way, Franklin, TN 37067 ("Property").

    3. The said Deed of Trust secures a Note in favor of Community First Bank & Trust, in the
original principal amount of $766,400.00, dated February 8, 2007 ("Note"), a copy of which is
attached as "Exhibit 1."

    4. The Property is subject to the first lien of the Movant by the Deed of Trust recorded in
the Williamson County Public Registry, ("Deed of Trust"), a copy of which is attached as
"Exhibit 2."

   5. The said Note and Deed of Trust have been transferred and assigned to Deutsche Bank
National Trust Company, as Trustee for GSR Mortgage Loan Trust 2007-AR2 Mortgage Pass-
Through Certificates Series 2007-AR2.

   6. The Debtor(s) has defaulted in the payment of the mortgage payments. Upon information
and belief, the amount of the default, exclusive of attorney fees and costs, is as follows:

           7 payments at $5,626.30                             $39,384.10
           August 1, 2015 To February 1, 2016
           12 payments at $5,620.08                            $67,440.96
           March 1, 2016 To February 1, 2017
           11 payments at $5,607.16                            $61,678.76
           March 1, 2017 To January 1, 2018
           1 payment at $5,611.83                              $5,611.83
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           February 1, 2018 To February 1, 2018

           Less Suspense                                         ($0.00)

           TOTAL PAYMENTS DUE                                    $174,115.65

   7. The approximate payoff is $948,628.05.

   8. The tax value of the subject property is $756,000.00. This information was obtained
from the Williamson County Tax Assessment site. A copy is attached as "Exhibit 3."

    9. Because the debtor(s) have failed to keep the payments current, as required, the property
is not necessary for an effective reorganization, and there is no equity in the property, Nationstar
Mortgage LLC d/b/a Mr. Cooper, is entitled to relief from the Automatic Stay pursuant to
Section 362(d)(2) of the Bankruptcy Code.

    10. Attached are redacted copies of any documents that support the claim, such as promissory
notes, purchase order, invoices, itemized statements of running accounts, contracts, judgments,
mortgages, and security agreements in support of right to seek a lift of the automatic stay and
foreclose if necessary.

    11. Nationstar Mortgage LLC d/b/a Mr. Cooper services the Debt Agreement/Note/Home
Equity Note on the property. In the event the automatic stay is modified, this case dismisses
and/or the Debtor receives a discharge and a foreclosure action is commenced on the property,
the foreclosure will be conducted in the name of Movant. Attached are redacted copies of any
documents that support the claim, such as promissory notes, purchase order, invoices, itemized
statements of running accounts, contracts, judgments, mortgages, and security agreements in
support of right to seek a lift of the automatic stay and foreclose if necessary.

        WHEREFORE, Nationstar Mortgage LLC d/b/a Mr. Cooper Servicer for Deutsche
Bank National Trust Company, as Trustee for GSR Mortgage Loan Trust 2007-AR2 Mortgage
Pass-Through Certificates Series 2007-AR2 (“Nationstar Mortgage LLC d/b/a Mr. Cooper”)
prays the Court as follows:

   1. Modify the Automatic Stay of Section 362(a) of the Bankruptcy Code to permit the
movant its successors and/or assigns to institute or resume and prosecute to conclusion one or
more action(s) in the court(s) of appropriate jurisdiction to foreclose mortgage(s) held by the
movant upon the following: - Land and premises commonly known as 308 Hamlets End Way,
Franklin, TN 37067.

  2. That the Court order the Trustee to abandon interest in the real property located at 308
Hamlets End Way, Franklin, TN 37067, pursuant to 11U.S.C. 554 (b).

   3. Modify Rule 4001(a)(3) of the Federal Rules of Bankruptcy Procedure so that it is not
applicable in this case and so Nationstar Mortgage LLC d/b/a Mr. Cooper may immediately
enforce and implement this order granting relief from the automatic stay.

   4. Grant Nationstar Mortgage LLC d/b/a Mr. Cooper such other and further relief as may
seem just and proper.
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      This the 15th day of February, 2018.

                                     /s/ Kyle Stewart
                                     Kyle Stewart, Attorney for Creditor, Bar # 33796
                                     kstewart@logs.com |704-831-2341
                                     Shapiro & Ingle, LLP
                                     10130 Perimeter Pkwy, Suite 400
                                     Charlotte, NC 28216
                                     Phone: 704-333-8107 | Fax: 704-333-8156
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                                     bculp@logs.com | 704-249-0065
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                                CERTIFICATE OF SERVICE

           I hereby certify that I have this day served the foregoing motion for relief from
   the automatic stay and exhibits and annexed pleading or paper upon:

                                     (Served via U.S. Mail)
                                        Brad W. Daniel
                                     308 Hamlets End Way
                                      Franklin, TN 37067

                            (Served via Electronic Notification Only)
                                   Adrienne Trammell Love
                                   Trammell Love Law Firm
                               709 Lenox Village Drive, Suite 103
                                      Nashville, TN 37211

                            (Served via Electronic Notification Only)
                                       Jeanne Ann Burton
                                      95 White Bridge Rd
                                      Nashville, TN 37205

                               (Served via Electronic Notification, Only)
                                  Office of the United States Trustee
                                        701 Broadway, Ste 318
                                         Nashville, TN 37203

   by depositing the same in a postpaid wrapper properly addressed to each such party or his
   attorney of record in a post office or other official depository under the exclusive care
   and custody of the United States Postal Service and/or by electronic mail, if applicable.

          This the 15th day of February, 2018.

                                           /s/ Kyle Stewart
                                           Kyle Stewart, Attorney for Creditor, Bar # 33796
                                           kstewart@logs.com |704-831-2341
                                           Shapiro & Ingle, LLP




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